Case 1:05-cr-10016-.]DT Document 13 Filed 05/11/05 Page 1 of 2 Page|D 12

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION "

 

UNITED STATES OF AMERICA,

Plaintiff,

vs. NO. 05-10016~T

ISAAC WILLIAMS,

Defendant.

 

ORDER

 

Upon motion of the defendant, consent of the United States,

and for good cause shown, it is hereby:
ORDERED, ADJUDGED AND DECREED that ISaaC Williams Can travel
to Gary, Indiana on May 26, 2005, returning home on May 30, 2005,

to attend his in-laws’ 50th anniversary celebration.

_ fda
Entered this day of May, 2005.

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James g Todd
Chief nited States District Judge

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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Honorable J ames Todd
US DISTRICT COURT

